  Case 18-35437        Doc 23    Filed 06/17/19 Entered 06/17/19 15:12:59         Desc Main
                                   Document     Page 1 of 7



                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                            )       In Chapter 7
                                                  )       Case No. 18 B 35437
STEVEN D. ZARLING,                                )       Honorable LaShonda A. Hunt
                                                  )       Motion Date: July 17, 2019
            Debtor.                               )       Motion Time: 10:00 a.m.

                                      NOTICE OF MOTION

TO:      See Attached Service List

       PLEASE TAKE NOTICE THAT on July 17, 2019, at the hour of 10:00 a.m., a
MOTION TO RETAIN SPECIAL COUNSEL shall be heard before the Honorable LaShonda
A. Hunt of the United States Bankruptcy Court for the Northern District of Illinois, Courtroom
719 at 219 South Dearborn, Chicago, Illinois. A copy of same is attached hereto and thereby
served upon you. You may appear if you so see fit.

                                                          GOLAN CHRISTIE TAGLIA LLP


                                     AFFIDAVIT OF SERVICE

       I, Robert R. Benjamin, an attorney, certify that I caused the foregoing Notice of Motion
and Motion to Retain Special Counsel to be served upon the parties who receive notice via
CM/ECF, by e-mail and first class mail postage prepaid sent from 70 W. Madison Street, Suite
1500, Chicago, IL 60602 on June 17, 2019.


                                                          /s/Robert R. Benjamin
                                                           Robert R. Benjamin
GOLAN CHRISTIE TAGLIA LLP
Attorneys for Movant
70 W. Madison Street, Suite 1500
Chicago, Illinois 60602
312-263-2300
 Case 18-35437      Doc 23   Filed 06/17/19 Entered 06/17/19 15:12:59        Desc Main
                               Document     Page 2 of 7



                                    SERVICE LIST

Richard J Mason                            Steven D. Zarling
McGuire Woods LLP                          c/o David M Siegel
77 West Wacker Drive                       David M. Siegel & Associates
Suite 4100                                 790 Chaddick Drive
Chicago, IL 60601                          Wheeling, IL 60090
Via CM/ECF                                 Via CM/ECF

PRA Receivables Management, LLC            Alexian Brothers Medical Center
PO Box 41021                               800 Biesterfield Rd.
Norfolk, VA 23541                          Elk Grove Village, IL 60007
Via CM/ECF                                 Via Regular Mail

Bank of America                            Barclays Bank Delaware
Bankruptcy Department                      125 S. West St.
PO Box 982284                              Wilmington, DE 19801
El Paso, TX 79998-2238                     Via Regular Mail
Via Regular Mail

Capital One                                Cap1/Best Buy
1500 Capital One Way                       PO Box 6497
Richmond, VA 23060                         Sioux Falls, SD 57117
Via Regular Mail                           Via Regular Mail

Care Rehab & Orthopaedic Products          Chase
PO Box 580                                 PO Box 15298
Mc Lean, VA 22101                          Wilmington, DE 19850
Via Regular Mail                           Via Regular Mail

Citi                                       Citi
PO Box 6500                                PO Box 6241
Sioux Falls, SD 57117-6500                 Sioux Falls, SD 57717
Via Regular Mail                           Via Regular Mail

Citibank NA                                Commerce Bank
PO Box 769006                              PO Box 411036
San Antonio, TX 78245                      Kansas City, MO 64141-1036
Via Regular Mail                           Via Regular Mail

Commerce Bank                              Commerce Bank
PO Box 419248                              1045 Executive Parkway
Kansas City, MO 64141                      St. Louis, MO 63141
Via Regular Mail                           Via Regular Mail
  Case 18-35437      Doc 23      Filed 06/17/19 Entered 06/17/19 15:12:59        Desc Main
                                   Document     Page 3 of 7



Creditors Discount & Audit (RETA)              Discover Bank
415 E. Main St.                                PO Box 15316
PO Box 213                                     Wilmington, DE 19850
Streator, IL 61364                             Via Regular Mail
Via Regular Mail

Dr. Grochowski                                 Fingerhut
911 N. Plum Grove Rd. Unit B                   PO Box 1250
Schaumburg, IL 60173                           Saint Cloud, MN 56395-1250
Via Regular Mail                               Via Regular Mail

FINGERHUT/WEBBANK                              Glen Oaks Hospital
6250 Ridgewood Rd.                             PO Box 4657
Saint Cloud, MN 56303                          Hinsdale, IL 60522
Via Regular Mail                               Via Regular Mail

Illinois Bone & Joint                          Illinois Spine Institute
135 S LaSalle Dpt. 1052                        1990 E. Algonquin Rd.
Chicago, IL 60674-1052                         Schaumburg, IL 60173
Via Regular Mail                               Via Regular Mail

Midwest Sports Medicine                        O'Connor Nakos
901 W. Biesterfield Rd., Ste. 300              120 North LaSalle Street, 35th Floor
Elk Grove Village, IL 60007                    Chicago, IL 60602
Via Regular Mail                               Via Regular Mail

OAD Orthopaedics Ltd                           Partners in Primary Care
27650 Ferry Rd                                 1545 Hicks Rd.
Warrenville, IL 60555                          Rolling Meadows, IL 60008
Via Regular Mail                               Via Regular Mail

Radiological Consult. of Woodstook             Rehabilitation Institute of Chicago
9410 Compubill Drive                           1030 N. Clark St., #500
Orland Park, IL 60462                          Chicago, IL 60610
Via Regular Mail                               Via Regular Mail

Rush University Medical Center                 Sears/CBNA
Rush Behavioral Systems                        P.O. BOX 6282
2001 Butterfield Rd., #220                     Sioux Falls, SD 57117
Downers Grove, IL 60515                        Via Regular Mail
Via Regular Mail

Sherman Hospital
PO Box 582663
Modesto, CA 95358
Via Regular Mail
  Case 18-35437          Doc 23   Filed 06/17/19 Entered 06/17/19 15:12:59           Desc Main
                                    Document     Page 4 of 7



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

In re:                                               )       In Chapter 7
                                                     )       Case No. 18 B 35437
STEVEN D. ZARLING,                                   )       Honorable LaShonda A. Hunt
                                                     )       Motion Date: July 17, 2019
              Debtor.                                )       Motion Time: 10:00 a.m.

                          MOTION TO RETAIN SPECIAL COUNSEL

         Richard Mason (the “Trustee”), not individually but as Chapter 7 Trustee of the Estate of

Steven D. Zarling (the “Debtor”), pursuant to 11 U.S.C. § 327(c) of the United States

Bankruptcy Code (the “Bankruptcy Code”) and Federal Rules of Bankruptcy Procedure 2014,

moves through putative counsel, Robert R. Benjamin, Beverly A. Berneman and Anthony J.

D’Agostino, and the associates and para-professionals of Golan Christie Taglia LLP (“GCT”),

for entry of an order authorizing him to retain GCT, as special counsel to pursue recovery of a

pre-petition transfer of settlement proceeds by the Debtor, and in support of this Motion, states as

follows:

         1.      On December 26, 2018, Debtor filed a voluntary petition for relief under Chapter

7 of Title 11 of the Bankruptcy Code (“Petition”) as an individual. Trustee was appointed and

immediately thereafter began his examination of Debtor’s assets and liabilities.

         2.      After Debtor’s initial Section 341 Meeting of Creditors, Debtor filed amended

bankruptcy schedules on February 6, 2019 disclosing a February 2018 workers’ compensation

settlement in the amount of $39,810.82 (the “Settlement Funds”). [Dkt. No. 12.]

         3.      Debtor asserts an exemption as to the Settlement Funds pursuant to 820 ILCS

305/21. Id.
  Case 18-35437       Doc 23     Filed 06/17/19 Entered 06/17/19 15:12:59           Desc Main
                                   Document     Page 5 of 7



       4.      On February 6, 2019, Debtor also filed an Amended Statement of Financial

Affairs and disclosed that the Settlement Funds were transferred to George Zarling, Debtor’s

brother, in February 2018. [Dkt. No. 13.]

       5.      Pursuant to Section 327(c) of the Bankruptcy Code, the Trustee, with Court

approval, may employ attorneys, accountants, appraisers, auctioneers or other professional

persons, all of whom must be disinterested.

       6.      The Trustee desires to retain the services of an attorney and requests this Court to

approve the retention of Robert R. Benjamin, Beverly A. Berneman and Anthony J. D’Agostino,

and the associates and para-professionals of GCT to object to the exemption asserted by Debtor

as to the Settlement Funds and to recover the transfer of the Settlement Funds for the benefit of

the Estate.

       7.      GCT is not owed any money by the Estate nor does it have any interest adverse to

the interests of this Estate or any class of creditors or equity security holders. GCT is currently

representing a creditor of the Estate, Linda J. Nelson. Ms. Nelson has agreed to pay GCT for

hourly services rendered for the objection to the exemption asserted by Debtor as to the

Settlement Funds and recovery of the transfer of the Settlement Funds for the benefit of

the Estate and shall accept a credit against our fees of any sums received as a result of the

contingent fees received from representing the Trustee. Furthermore, Ms. Nelson agrees and

acknowledges that she waives and releases any claims she has as a secured or lien creditor

arising from Cook County Case No. 08 M2 3162, to the extent she has any right to such claims.

Therefore GCT is considered a disinterested person under Section 101(13)(E) of the Bankruptcy

Code. Accordingly, GCT is qualified to serve as counsel pursuant to Section 327 of the

Bankruptcy Code.
  Case 18-35437       Doc 23     Filed 06/17/19 Entered 06/17/19 15:12:59           Desc Main
                                   Document     Page 6 of 7



       8.      The professional services to be rendered by GCT can be generally described as

follows:

               a.     To render legal advice and investigation with respect to avoidance powers

       provided by §§ 544, 547, 548 and 550 of the Bankruptcy Code;

               b.     To evaluate and prepare an objection to Debtor’s assertion of exemption

       over workers’ compensation proceeds; and

               c.     To prepare all other necessary pleadings, orders and reports with respect to

       the avoidance powers and to render all other legal services as may be necessary proper

       therein.

       9.      Section 327(a) of the Bankruptcy Code provides that, subject to Court approval,

the compensation of any professional person may be on any reasonable terms and conditions

including on a retainer, hourly basis or contingent fee arrangement. GCT has agreed to accept a

contingent fee of 1/3 of sums recovered on behalf of the Estate plus costs. The Trustee believes

that the issues raised warrant extensive time and effort by his proposed counsel and therefore, the

proposed contingency rate is reasonable.

       10.     Members of GCT are experienced bankruptcy counsel and through its retention,

the Trustee will be able to properly investigate and pursue causes of action designed to

ultimately provide for a distribution to creditors. In support of this motion, Trustee attaches the

Affidavits of Robert R. Benjamin, Beverly A. Berneman and Anthony J. D’Agostino of GCT

hereto as Exhibits A, B and C, respectively.

       WHEREFORE, Richard Mason, not individually but as Chapter 7 Trustee of the Estate of

Steven D. Zarling, prays that this Honorable Court enter an order that:
  Case 18-35437        Doc 23    Filed 06/17/19 Entered 06/17/19 15:12:59              Desc Main
                                   Document     Page 7 of 7



       A.      Authorizes the Trustee to retain Robert R. Benjamin, Beverly A. Berneman,

Anthony J. D’Agostino and the associates and para-professionals of Golan Christie Taglia LLP,

as special counsel for the Trustee in the instant proceedings to investigate and proceed with

matters pertaining to the avoidance powers provided by §§ 544, 547, 548 and 550 of the United

States Bankruptcy Code;

       B.      Finds the above-described counsel qualified to serve as counsel for the Trustee

pursuant to Section 327 of the Bankruptcy Code and that said counsel are disinterested within the

definition of that term under Section 101(13)(E) of said Code; and

       C.      Grants such other and further relief as this Court deems just and proper.

Dated: June 17, 2019                                   RICHARD MASON,


                                                       By:/s/ Robert R. Benjamin
                                                               One of his attorneys
Robert R. Benjamin (ARDC #0170429)
Beverly A. Berneman (ARDC # 6189418)
Anthony J. D’Agostino (ARDC # 6299589)
GOLAN CHRISTIE TAGLIA LLP
Attorneys for Trustee
70 West Madison, Suite 1500
Chicago, Illinois 60602
P: 312-263-2300
rrbenjamin@gct.law
baberneman@gct.law
ajdagostino@gct.law

and

                                                       RICHARD MASON,


                                                       By:/s/ Richard Mason, Trustee

Richard Mason
Chapter 7 Trustee of the Estate of Steven D. Zarling
Richard J. Mason PC
77 W. Wacker Drive
Chicago, Illinois 60601
P: 312-750-3527
rmason@mcguirewoods.com
